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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:15CR201

       vs.
                                                                      ORDER
JORGE LUIS URESTI-BELTRAN,

                      Defendant.


       This matter is before the Court on the defendant’s motion for a copy of the Judgment in
his criminal case (Filing No. 115). The Court notes that the defendant was sentenced on
February 29, 2016 (Filing No. 99), judgment was entered on February 29, 2016 (Filing No. 101),
and that no appeal was timely filed. At this time, the defendant has no motions or cases pending
before this court, and the defendant makes no showing as to why he needs these copies.
Accordingly, the Court will deny the motion. The defendant is, of course, free to request copies
of his Judgment, and to pay the costs of the same.


       IT IS ORDERED:
       1.      The defendant’s Motion for Copies of his Judgment [115] is denied.
       2.      The defendant may contact the Clerk of the District Court to request copies of his
Judgment, and to pay the costs of the same.
       3.      The Clerk of Court shall mail a copy of this order to the defendant at the address
provided in filing number 115.




       Dated this 12th day of September, 2016

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
